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      C. RYAN GERMANY                                             March 07, 2023
      IN RE: GEORGIA SENATE BILL 202                                           1

·1· · · · · · IN THE UNITED STATES DISTRICT COURT
· · · · · · · FOR THE NORTHERN DISTRICT OF GEORGIA
·2

·3

·4·    IN RE:· · · · · · · · · · · · )
· ·    · · · · · · · · · · · · · · · )
·5·    · ·GEORGIA SENATE BILL 202· · )
· ·    · · · · · · · · · · · · · · · )
·6·    · · · · ·Plaintiff,· · · · · ·)
· ·    vs.· · · · · · · · · · · · · ·) Civil Action No.
·7·    · · · · · · · · · · · · · · · ) 1:21:MI-55555-JPB
· ·    · · · · · · · · · · · · · · · )
·8·    · · · · ·Defendants.· · · · · )
· ·    · · · · · · · · · · · · · · · )
·9·    - - - - - - - - - -· - - - - -)

10

11· · · · · · · · · ·VIDEOTAPE DEPOSITION OF

12· · · · · · · · · · · ·C. RYAN GERMANY

13

14· · · · · Tuesday, March 7, 2023, 9:01 a.m.(EST)

15

16

17

18

19

20· · · · · HELD AT:

21· · · · · · ·Taylor English Duma LLP
· · · · · · · ·1600 Parkwood Circle, Suite 200
22· · · · · · ·Atlanta, Georgia· 30339

23
· · · · ·---------------------------------------------
24· · · · · WANDA L. ROBINSON, CRR, CCR, No. B-1973
· · · · · Certified Shorthand Reporter/Notary Public
25


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·1· · · · · · (A recess was taken.)
·2· · · · · · THE VIDEOGRAPHER:· We're back on the
·3· · · ·record at 11:51.
·4· BY MS. RICHARDSON:
·5· · · ·Q· · Mr. Germany, last year did you submit a
·6· declaration in support of Defendants' Opposition to
·7· Plaintiffs' Motion for Preliminary Injunction?
·8· · · · · · Do you recall submitting a declaration?
·9· · · · · · MR. FIELD:· Object to form.· Which case?
10· · · ·A· · In what case?
11· · · ·Q· · In this matter.
12· · · · · · MS. RICHARDSON:· Thank you for the
13· · · ·clarification.
14· · · ·A· · I don't doubt -- I don't doubt that I did
15· that.
16· · · · · · (Whereupon, Plaintiffs' Exhibit-217 was
17· · · · marked for identification.)
18· BY MS. RICHARDSON:
19· · · ·Q· · I'm handing you what has been marked by
20· the court reporter as Plaintiffs' Exhibit 217, is
21· your declaration, and that was submitted for
22· Defendants' Opposition to Plaintiffs' Motion for
23· Preliminary Injunction.
24· · · · · · If we could go to Paragraph 35.
25· · · · · · Let's actually start at Paragraph 34, Mr.


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·1· Germany.
·2· · · · · · It reads:· "However, SB 202 also provided
·3· that this provision" --
·4· · · · · · MS. RICHARDSON:· Strike that.
·5· BY MS. RICHARDSON:
·6· · · ·Q· · Let's start at Paragraph 35.
·7· · · · · · "Under these updated ant-solicitation
·8· provisions, third-party organizations may not send
·9· representatives to approach voters waiting in line
10· with money, food, or drink.· But these organizations
11· may provide food and drink outside the buffer zone
12· as long as they are not providing it only to voters
13· or as an inducement to vote.
14· · · · · · "This struck the same balance that
15· Director Harvey suggested when he said 'the simpler,
16· the better on this subject,' as 'the appearance
17· could be that voters are being rewarded for voting
18· with beverages and food.'· As 'polling place are
19· meant to be a sanctuary from political influence,'
20· Director Harvey explained, 'it is better to
21· sacrifice some refreshments than to allow a
22· perception of political influence from any group if
23· it comes to that.'"
24· · · · · · What did you mean by "a perception of
25· political influence"?


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·1· · · ·A· · I was --
·2· · · · · · MR. FIELD:· Object to --
·3· · · ·A· · -- I was quoting from what I think was an
·4· Official Election Bulletin that the Secretary of
·5· State's Office had sent.· I don't recall if it was
·6· before the November 2020 or before the January 2021
·7· runoff election, but that dealt with this -- the
·8· issue of kind of handing out food and drink at
·9· polling places.
10· · · ·Q· · Fair to say the Secretary of State's
11· Office was concerned about a perception of political
12· influence from groups that were handing out food and
13· drink around the polling place?
14· · · ·A· · I know that the complaints that we
15· received about it, that seemed to be driving some of
16· the complaints.· So, yes.
17· · · ·Q· · The political influence was driving some
18· of the complaints?
19· · · ·A· · No.· I think what was driving the
20· complaints was there was a perception that, hey,
21· this group is, is here and they are, you know,
22· partisan motivated more so than anything else.
23· · · ·Q· · Anything else driving those complaints?
24· · · · · · MR. FIELD:· Object to form.
25· · · ·A· · The complaints that we got from voters?


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·1· · · ·Q· · Yes.
·2· · · ·A· · I think -- there seemed to be some
·3· confusion that, like, hey, I thought -- I think to
·4· the voters it seemed to feel like campaigning, which
·5· they knew, hey, this is not allowed.
·6· · · · · · So I don't know, you know -- I don't know
·7· -- there might have been a perception of -- I think
·8· part of it was a perception of this is a partisan
·9· group, and part of it was this -- I didn't think
10· this was allowed.
11· · · ·Q· · Let's look at the actual complaints,
12· starting with Exhibit A.
13· · · · · · Would you agree this is an email from SEB
14· member Matt Mashburn, Matthew Mashburn, to you,
15· regarding intrusions into the 150 foot bubble?
16· · · ·A· · Yes.
17· · · ·Q· · It starts:· "To Ryan first:· Dear
18· Secretary Raffensperger, fellow Board Members and
19· Counsel Germany:· As always, the bad people take
20· advantage what was once was a good thing and ruin it
21· for everybody."
22· · · · · · Who were the bad people?· What did you
23· take that to mean?
24· · · ·A· · I took that to mean that the people are
25· doing things that, if not intentionally, it kind of


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·1· -- should have been known, hey, this is going to
·2· cause some blowback in terms of pushing the envelope
·3· on the rules.
·4· · · ·Q· · On the next page is a photo.· Was this a
·5· photo that SEB member Matthew Mashburn sent along
·6· with that email?
·7· · · ·A· · That's what it appears to be.
·8· · · ·Q· · Would you agree that in this photo there
·9· are several black voters?
10· · · ·A· · Um, assuming that people who are kind of
11· waiting are waiting in line to vote, then, yes,
12· there would be black and white voters there.
13· · · ·Q· · Do you know who the man in the blue shirt
14· with the camera is?
15· · · ·A· · I see a man kind of on -- I'm not sure
16· that I see him holding a camera.· Is this -- the man
17· standing on kind of a sidewalk?
18· · · ·Q· · Uh-hum.· Yes.
19· · · ·A· · It does look like he's holding something.
20· I can't tell what it is.
21· · · ·Q· · Do you know who that is?
22· · · ·A· · No.
23· · · ·Q· · Did you know when you submitted this
24· declaration?
25· · · ·A· · Who the person in that photo was?


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·1· · · ·Q· · Yeah.
·2· · · ·A· · No.
·3· · · ·Q· · Did you ever ask Mr. Mashburn who that
·4· was?
·5· · · ·A· · No.
·6· · · ·Q· · Do you know if that's a member of the
·7· Democratic Party?
·8· · · ·A· · I have no idea who that is.
·9· · · ·Q· · Do you see the African-American gentleman
10· standing at the forefront of the photo?
11· · · ·A· · Yes.
12· · · ·Q· · Does it look like he's preparing some
13· food?
14· · · ·A· · It looks like he's setting up some, some
15· food, yes.
16· · · ·Q· · Would you agree that he is away, standing
17· away from the voters in line?
18· · · · · · MR. FIELD:· Object to form.
19· · · ·A· · Um, I'm not sure what -- I mean it's hard
20· to -- what do you mean by away?· I don't know.                   I
21· think, you know, historically what away has been
22· considered as 150 feet away from the polling place,
23· and I'm not sure if he's that far away or not.
24· · · · · · There's usually a sign that says -- at
25· every polling place that says, hey, here is where


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·1· 150 feet is and is not.· So it's meant to be
·2· apparent to people where that line is.
·3· · · ·Q· · So he's not talking to voters, is he?
·4· · · · · · MR. FIELD:· Object to form.
·5· · · ·A· · Well, this photograph does not appear to
·6· be like that.
·7· · · ·Q· · And it doesn't appear like he's
·8· compaigning?
·9· · · · · · MR. FIELD:· Object to form.
10· · · ·A· · I can't say that from a photograph.
11· · · ·Q· · Did you know when you wrote this
12· declaration that you relied on this exhibit?
13· · · ·A· · Did I know what?
14· · · · · · MR. FIELD:· Object to form.
15· · · ·Q· · Whether or not he was talking to voters,
16· campaigning, what he was doing there?
17· · · · · · MR. FIELD:· Object to form.
18· · · ·A· · I know nothing about this photograph other
19· than what -- than what it shows.
20· · · ·Q· · Let's turn the page and look at the next
21· photo that was included in your declaration.
22· · · · · · Do you know what's going on here in this
23· photo?
24· · · ·A· · I do not.
25· · · ·Q· · Would you agree that many of the voters --


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·1· · · · · · · · · · ·C E R T I F I C A T E

·2

·3· STATE OF GEORGIA:

·4· FULTON COUNTY:

·5

·6· · · · · · ·I hereby certify that the foregoing

·7· transcript of C. RYAN GERMANY was taken down, as

·8· stated in the caption, and the questions and answers

·9· thereto were reduced by stenographic means under my

10· direction;

11· · · · · · That the foregoing Pages 1 through

12· 230 represent a true and correct transcript of

13· the evidence given upon said hearing;

14· · · · · · And I further certify that I am not of kin

15· or counsel to the parties in this case; am not in

16· the regular employ of counsel for any of said

17· parties; nor am I in anywise interested in the

18· result of said case.

19

20· · · · ·IN WITNESS WHEREOF, I have hereunto

21· subscribed my name this 17th day of March, 2023.

22

23· · · · · · _____________________________________

24· · · · · · Wanda L. Robinson, CRR, CCR No. B-1973
· · · · · · · · ·My Commission Expires 10/11/2023
25


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